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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                          15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

       DECLARATION OF JEFFREY S. PAGLIUCA IN SUPPORT OF DEFENDANT’S
     COMBINED RESPONSE TO PLAINTIFF’S MOTION TO COMPEL DEFENDANT
        TO ANSWER DEPOSITION QUESTIONS FILED UNDER SEAL AND MOTION
           TO TERMINATE OR LIMIT PURSUANT TO F.R.CIV.P. 30(d)(3)

        I, Jeffrey S. Pagliuca, declare as follows:

        1.       I am an attorney at law duly licensed in the State of Colorado and admitted to

practice in the United States District Court for the Southern District of New York pro hac vice. I

am a member of the law firm Haddon, Morgan and Foreman. P.C., counsel of record for

Defendant Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration

in support of Maxwell’s Combined Response to Plaintiff’s Motion to Compel Defendant to

Answer Deposition Questions Filed Under Seal and Motion to Terminate or Limit Pursuant to

F.R.Civ.P. 30(d)(3).


        2.       Attached as Exhibit A is a true and correct copy of composite pages from

Defendant’s April 22 ,2016 Deposition Transcript.
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on

May 10, 2016 in Denver, Colorado.


                                                By: /s/ Jeffrey S. Pagliuca
                                                Jeffrey S. Pagliuca



                                CERTIFICATE OF SERVICE

       I certify that on May 10, 2016, I electronically served this DECLARATION OF
JEFFREY S. PAGLIUCA IN SUPPORT OF DEFENDANT’S COMBINED RESPONSE TO
PLAINTIFF’S MOTION TO COMPEL DEFENDANT TO ANSWER DEPOSITION QUESTIONS
FILED UNDER SEAL AND MOTION TO TERMINATE OR LIMIT PURSUANT TO F.R.CIV.P.
30(d)(3)via ECF on the following:

Sigrid S. McCawley                               Paul G. Cassell
Meridith Schultz                                 S.J. Quinney College of Law, University of
BOIES, SCHILLER & FLEXNER, LLP                   Utah
401 East Las Olas Boulevard, Ste. 1200           383 S. University Street
Ft. Lauderdale, FL 33301                         Salt Lake City, UT 84112
smccawley@bsfllp.com                             cassellp@law.utah.edu
mschultz@bsfllp.com

Bradley J. Edwards
FARMER, JAFFE, WEISSING, EDWARDS,
FISTOS & LEHRMAN, P.L.
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                 /s/ Nicole Simmons
                                                 Nicole Simmons




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